                                                                                                                           FILED
                                                                                                                9/8/2021 10:51 AM
2   CITS SOS-ESERVE                                                                                                 FELICIA PITRE
                Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                  Page 1 of 8 PageID 14           DISTRICT CLERK
                                                                                                               DALLAS CO., TEXAS
                                                                                                        Christi Undewvood DEPUTY

                                                             DC-21-12589
                                            CAUSE NO'

           MATRIX WARRANTY SOLUTIONS,                    §             IN THE DISTRICT COURT OF
           INC.                                          §
                                                         §
                    Plaintzﬁ,                            §
                                                         §
           v.                                            §
                                                         §               DALLAS COUNTY, TEXAS
                                                         §
           THE STAUNTON GROUP LLC, and                   §
           RALPH CARRILLO,                               §                160th
                                                         §
                    Defendants.                          §                     JUDICIAL DISTRICT

                                       PLAINTIFF’S ORIGINAL PETITION

          TO THE HONORABLE JUDGE OF SAID COURT:

                   Plaintiff Matrix Warranty Solutions, Inc. (“Matrix” or “Plaintiff’), ﬁles this Original

          Petition against Defendants The Staunton Group,          LLC (“Staunton Group”)     and Ralph Carrillo

          (“Carrillo”) (collectively, the “Defendants”), and respectfully shows the Court as follows:

                                                             I.
                                          DISCOVERY CONTROL PLAN
                   1.     Matrix intends to conduct discovery under Level         3   of the Texas Rule of Civil

          Procedure 190.4 and afﬁrmatively pleads that Matrix seeks monetary relief over $1,000,000.

                                                             II.
                                                      PARTIES
                   2.     Plaintiff Matrix Warranty Solutions, Inc. is a Nevada corporation with its principal

          place of business in Dallas, Texas.

                   3.     Defendant The Staunton Group,       LLC    is a Nevada limited liability company that

          may be served at its principal place of business in Aurora, Illinois. As detailed below, Staunton

          Group has purposefully availed itself and engaged in business in Texas but has not appointed or

          maintained a registered agent in Texas. Therefore, Staunton Group may be served with process

          PLAINTIFF’S ORIGINAL PETITION                                                                  PAGE   1


                                                                                                     EXHIBIT C-1
    Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                   Page 2 of 8 PageID 15



by serving the Texas Secretary of State at 1019 Brazos Street, Room 105, Austin, Texas, 78701,

as its agent for service, pursuant to Tex. Bus. Org. Code § 5.251 and Tex. CiV. Prac.   & Rem. Code

§ 17.026.    The Texas Secretary of State may serve Staunton Group at its principal place of business,

3015 East New York Street, Suite A2, #213, Aurora, Illinois 60504.

        4.       Defendant Ralph Carrillo is a non-resident individual residing in Illinois. Carrillo

has purposefully availed himself and engaged in business in Texas but has not appointed or

maintained a registered agent in Texas. Therefore, Carrillo may be served by serving the Texas

Secretary of State at 1019 Brazos Street, Room 105, Austin, Texas, 78701, as his agent for service

pursuant to Tex. Civ. Prac.     & Rem. Code     § 17.044.    The Texas Secretary of State may serve

Carrillo at 1035 W. Huron, Apt. 404, Chicago, Illinois 60642.

                                                  III.
                                      RULE 47 DISCLOSURE
        5.       Matrix seeks monetary relief over $1,000,000 and under $18,400,000.

                                              IV.
                                    JURISDICTION & VENUE
        6.       This Court has subject matter jurisdiction over the lawsuit because the amount in

controversy exceeds this Court’s minimum jurisdictional requirements.

        7.       This Court has personal jurisdiction over Defendants because Defendants

purposefully availed themselves of the laws of this state, have been doing business in this state,

and had systematic contacts with this state speciﬁc to the dispute described. Thus, exercise        of

jurisdiction is appropriate.

        8.       Venue is proper in Dallas County, Texas, because it is the county in which Plaintiff

resided at the time of the accrual of the cause of action.




PLAINTIFF’S ORIGINAL PETITION                                                                  PAGE 2
     Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                Page 3 of 8 PageID 16



                                                   V.
                                                 FACTS
A.      Background of Matrix’s Business.

        9.      Matrix creates comprehensive warranty solutions for various products and

industries including cars, appliances, and electronics. One of their primary warranties are motor

vehicle service agreements and vehicle protection agreements (the “Service Agreements”).

Matrix’s Service Agreements are in high demand.

        10.     To assist handle customer demand, Matrix contracts with companies to market and

sell the Service Agreements.

B.      Matrix and Clear Path Relationship.

        11.     On or about September 23, 2019, Matrix and Clear Path entered into a Direct

Marketing Producer Agreement (the “Agreement”). Pursuant to the Agreement, Clear Path would

market, sell, issue and administer service agreements developed by Matrix. Clear Path was paid

for these services.

        12.     The Agreement’s effective date commenced on September 23, 2019 and remained

in effect until either party provided 30 days’ advance written notice.

        13.     Matrix and Clear Path enjoyed a beneﬁcial relationship from the moment when the

Agreement began in September 2019 until Defendants interfered.

C.      The Staunton Group disparages Matrix and interferes with the Agreement.

        14.     In the Summer of 2021, Matrix discovered that Defendants were engaging in

actions harmful to Matrix.

        15.     Matrix learned that Defendants disparaged Matrix to Matrix’s existing and

prospective customers. For example, Defendants held themselves out as representatives of Sing

for Service   LLC     d/b/a   MEPCO, the nation’s leader in ﬁnancing service contracts of the type



PLAINTIFF’S ORIGINAL PETITION                                                              PAGE 3
     Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                Page 4 of 8 PageID 17



provided by Matrix, and made these disparaging      cements to Clear Path—with Whom Matrix has

enjoyed a proﬁtable relationship for several years.

        16.    As a result of Defendants’ actions, Clear Path ceased doing business with Matrix,

completely interfering with the Agreement and disrupting the business relationship.

        17.    Defendants made these communications in order to stop Clear Path from selling

Matrix’s Service Agreement and to compel Clear Path to sell the Staunton Group’s preferred

products which were from Dealer Loyalty Protection, Inc.

        18.    Defendants are liable to Matrix.

                                               VI.
                                        CAUSES OF ACTION
A.      Violation of Texas Deceptive Trade Practices Act (“DTPA”) against all Defendants.

        l9.    Matrix incorporates all prior paragraphs by reference as   if set forth fully herein.
        20.    Clear Path was paid for the services it provided to Matrix. Matrix was a consumer

as to the services Clear Path provided. The services Matrix was provided by Clear Path form the

basis of this complaint. Defendants committed acts and practices which are prohibited by the

DTPA. Defendants engaged in false, misleading, deceptive acts or practices in the conduct of their

trade, including but not limited to: disparaging the services or business    of another by false or

misleading representation of facts. Defendants’ false, misleading, deceptive acts were made in

connection with the services provided by Clear Path to Matrix and in connection with that

consumer relationship.

        21.    As   a direct result   of Defendants’ actions, Matrix incurred economic, actual, and

special damages for which Defendants are liable.       Matrix provided Defendants with notice and

demand for economic damages.




PLAINTIFF’S ORIGINAL PETITION                                                                   PAGE 4
     Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                 Page 5 of 8 PageID 18



        22.    Defendants’ deceptive acts were committed knowingly, intentionally, maliciously,

and were motivated by greed.   As a result, Matrix requests treble and punitive damages. Matrix also

seeks all necessary attorneys’ fees and court costs expended in prosecuting this action.

B.      Tortious Interference with Existing Contract against all Defendants.

        23.    Matrix incorporates all prior paragraphs by reference as    if set forth fully herein.
        24.    Matrix had a valid and existing contract with Clear Path where Clear Path was

selling Service Agreements on Matrix’s behalf.

        25.    Matrix and Clear Path had enjoyed a mutually beneﬁcial relationship under the

Agreement until Defendants interfered with Matrix’s relationship with Clear Path. Defendants

knew or had reason to know of Matrix’s contract with Clear Path.

        26.    Nevertheless, Defendants willfully and intentionally interfered with the Agreement

by making disparaging comments about Matrix to Clear Path in order to interfere with Matrix’s

existing relationship with Clear Path.

        27.    As a proximate and foreseeable result of Defendants’ actions, Matrix           has been


damaged, for which sums it sues, in an amount within the jurisdiction     of this Court. Matrix seeks

to recover its actual, special, exemplary, and consequential damages, out-of-pocket damages, and


attorneys’ fees, along with court costs and pre- and post-judgment interest at highest lawful rate.

C.      Business Disparagement against all Defendants.

        28.    Matrix incorporates all prior paragraphs by reference as    if set forth fully herein.
        29.    Defendants have published disparaging words to third parties about Matrix’s

economic interests that were false. Defendants published the words with malice.

        30.    Defendants made disparaging comments about Matrix’s ﬁnancial position and

reliability in order to cast doubt in the minds of third parties about whether Matrix could perform




PLAINTIFF’S ORIGINAL PETITION                                                                    PAGE 5
     Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                   Page 6 of 8 PageID 19



under the Agreement. The comments were made to disrupt Matrix’s business and its business

relationships.

        31.      As a proximate and foreseeable result of Defendants’ actions, Matrix            has been


damaged, for which sums it sues, in an amount within the jurisdiction       of this Court. Matrix seeks

to recover its actual, special, exemplary, and consequential damages, out-of-pocket damages, and


attorneys’ fees, along with court costs and pre- and post-judgment interest at highest lawful rate.

D.      Conspiracy.

        32.      Matrix incorporates all prior paragraphs by reference as    if set forth fully herein.
        33.      Defendants are jointly and severally liable to Matrix. Defendants combined to

accomplish an unlawful purpose and/or a lawful purpose by unlawful means by plotting to damage

Matrix’s business and enrich their own. In doing so, Defendants had a meeting of the minds on

the object or course   of action. Defendants committed unlawﬁil, overt acts to further the object or

course of action.

        34.      Defendants’ actions proximately caused Matrix injury in an amount to be

determined by the jury. Defendants are also liable to Matrix for exemplary damages.

        35.      As   a proximate and foreseeable result    of Defendants’ actions, Matrix has been

damaged, for which sums it sues, in an amount within the jurisdiction       of this Court. Matrix seeks

to recover its actual, special, exemplary, and consequential damages, out-of-pocket damages, and


attorneys’ fees, along with court costs and pre- and post-judgment interest at highest lawful rate.

                                                  VII.
                       JURY DEMAND AND CONDITIONS PRECEDENT
        36.      Matrix incorporates the foregoing allegations as   if fully set forth herein.
        37.      Matrix requests a jury trial for all issues triable by a jury and will pay the requisite

ﬁling fee.



PLAINTIFF’S ORIGINAL PETITION                                                                      PAGE 6
    Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                 Page 7 of 8 PageID 20



        38.     A11 conditions precedent have been performed or have occurred or,      alternatively,

are excused by the law or the actions or inactions   of Defendant.

                                         VIII.
                             PRAYER AND RELIEF REQUESTED

        WHEREFORE, PREMISES CONSIDERED, Matrix respectfully requests that Defendants

be cited to appear and answer, and on ﬁnal trial, Matrix have judgment against Defendants for the

relief requested herein, including actual damages, special damages, exemplary damages, attorneys’

fees, costs of court, pre- and post-judgment interest, and all other relief to which Matrix is justly

and equitably entitled.


                                               Respectfully submitted,

                                              /s/Jeff Whitﬁeld
                                              Jeff Whitﬁeld
                                               State Bar No. 24060825
                                              jeff.whitﬁeld@kellyhart.com
                                              Joseph Austin
                                               State Bar No. 24101470
                                              joseph.austin@kellyhart.com
                                              KELLY HART & HALLMAN LLP
                                              201 Main Street, Suite 2500
                                              Fort Worth, Texas 76102
                                              Telephone: (817) 332-2500
                                              Facsimile: (817) 878-9280

                                               ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION                                                                 PAGE 7
        Case 3:21-cv-03111-K Document 1-5 Filed 12/14/21                 Page 8 of 8 PageID 21
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Jeff Whitfield
 Bar No. 24060825
jeff.whitfield@kellyhart.com
 Envelope ID: 57039338
Status as of 9/9/2021 4:40 PM           CST
Associated Case Party: MATRIX WARRANTY SOLUTIONS INC

Name             BarNumber   Email                          TimestampSubmitted      Status
Jeff Whitfield               jeff.whitfield@ke|lyhart.com   9/8/2021 10:51 :13 AM   SENT
Joseph Austin                joseph.austin@kellyhart.com    9/8/2021 10:51:13 AM    SENT
